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UNITED STATES DISTRICT COURT JS-6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: 2:21-cv-06515-SB-SP Date: 11/12/2021

 

Title: Tracy Cui v. Snow Joe, LLC et al.

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: (IN CHAMBERS) ORDER GRANTING STIPULATION TO
REMAND CASE TO STATE COURT

On November 11, 2021, the parties filed a stipulation requesting that the
Court remand this case to Los Angeles County Superior Court. Dkt. No. 27. The
stipulation explains that at a recent “person most knowledgeable” deposition of an
individual at Defendant Snow Joe, LLC, Plaintiff's counsel learned for the first
time of another entity that it intends to add as a defendant. The stipulation explains
that this new entity is domiciled in California and thus would destroy complete
diversity. Because diversity is the basis for subject matter jurisdiction over this
case, and diversity jurisdiction will likely soon no longer exist, the parties now
seek a remand order. Finding good cause to do so, the Court hereby GRANTS the
parties’ stipulation and remands this case to Los Angeles County Superior Court.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk VRV

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